
454 S.E.2d 652 (1995)
340 N.C. 113
Michael Kent LEE and wife, Anne P. Lee
v.
Allen C. BIR.
No. 27P95.
Supreme Court of North Carolina.
March 2, 1995.
J. Gary Vannoy, Jay Vannoy, North Wilkesboro, for Bir.
W. David Lee, Monroe, for Lees.
Prior report: 116 N.C.App. 584, 449 S.E.2d 34.

ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*653 "Denied by order of the Court in conference, this the 2nd day of March 1995."
